       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 1 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 1 of 7


                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                        AUG 3 2023
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

ALEJANDRO FLORES; et al.,                       No.    22-16762

                Plaintiffs-Appellees,           D.C. No.
                                                1:22-cv-01003-JLT-HBK
 v.

LORI BENNETT, Dr., in her individual and        MEMORANDUM*
official capacities as President of Clovis
Community College; et al.,

                Defendants-Appellants.

                   Appeal from the United States District Court
                       for the Eastern District of California
                 Jennifer L. Thurston, Magistrate Judge, Presiding

                       Argued and Submitted July 17, 2023
                           San Francisco, California

Before: WARDLAW and M. SMITH, Circuit Judges, and RAYES,** District
Judge.

      Defendants—the President of Clovis Community College (“Clovis”) Lori

Bennett, Vice President of Student Services Marco De La Garza, Dean of Student



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The Honorable Douglas L. Rayes, United States District Judge for the
District of Arizona, sitting by designation.
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 2 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 2 of 7


Services Gurdeep Hebert, and Senior Program Advisor Patrick Stumpf—appeal a

district court order enjoining Clovis’s “Flyer Policy” that prohibited “inappropriate

or offense [sic] language or themes” in postings on interior bulletin boards. The

district court held that the Plaintiffs—then-Clovis students Alejandro Flores,

Daniel Flores, and Juliette Colunga, as well as the Young Americans for Freedom

(“YAF”) student chapter at Clovis—were likely to succeed on the merits of their

claims that the challenged provision was facially overbroad under the First

Amendment and unconstitutionally vague under the Fourteenth Amendment.

      We review a district court’s grant of a preliminary injunction for an abuse of

discretion. Olson v. California, 62 F.4th 1206, 1218 (9th Cir. 2023). Exercising

our jurisdiction under 28 U.S.C. § 1291, we affirm.

      1.     This appeal was not mooted, as Plaintiffs contend in their briefing,

when Clovis rescinded the original Flyer Policy and replaced it with a policy that

did not contain the “inappropriate or offense” provision.1 “It is well settled that ‘a

defendant’s voluntary cessation of a challenged practice does not deprive a federal

court of its power to determine the legality of the practice.’” Friends of the Earth,



1
 Defendants oppose Plaintiffs’ motion to supplement the record with the
Replacement Policy. However, “[c]onsideration of new facts may even be
mandatory. . . when developments render a controversy moot and thus divest [the
court] of jurisdiction.” Lowry v. Barnhart, 329 F.3d 1019, 1024 (9th Cir. 2003).
As the existence of the Replacement Policy bears directly on the question of
mootness, we GRANT the motion to supplement the record (Dkt. No. 14).

                                           2
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 3 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 3 of 7


Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 189 (2000) (quoting City of

Mesquite v. Aladdin’s Castle, Inc., 455 U.S. 283, 289 (1982)). Therefore, the party

asserting mootness faces a “heavy burden” of establishing that “the challenged

conduct cannot reasonably be expected to start up again.” Id. Plaintiffs have not

met their burden. Plaintiffs misrely on Fleet Feet, Inc. v. NIKE Inc., 986 F.3d 458

(4th Cir. 2021), where the Fourth Circuit determined an appeal was moot because

it was certain that NIKE would never again use the contested Super Bowl

advertising campaign. Id. at 462–63. Unlike in Fleet Feet, Defendants could

easily reinsert the challenged provision into Clovis’s flyer policy absent the

preliminary injunction. Indeed, Defendants have refused to disavow the old Flyer

Policy, and “vigorously defend[ed]” its legality. W. Virginia v. Env’t Prot.

Agency, 142 S. Ct. 2587, 2607 (2022) (internal quotation marks omitted).

      2.     The district court did not abuse its discretion when it concluded that

Plaintiffs were likely to succeed on the merits of their claim that the “inappropriate

or offense language or themes” provision was facially overbroad. To prevail on an

overbreadth challenge, a party must demonstrate that the policy “‘prohibits a

substantial amount of protected speech’ relative to its ‘plainly legitimate sweep,’”

such that “society’s interest in free expression outweighs its interest in the statute’s

lawful application.” United States v. Hansen, 143 S. Ct. 1932, 1939 (2023)

(quoting United States v. Williams, 553 U.S. 285, 292 (2008)). As the district


                                           3
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 4 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 4 of 7


court concluded, “a prohibition on ‘inappropriate or offense language or themes’

does not have a core of readily identifiable, constitutionally proscribable speech.”

The Supreme Court has consistently held that “[s]peech may not be banned on the

ground that it expresses ideas that offend,” Matal v. Tam, 582 U.S. 218, 223

(2017), including in the university context. See, e.g., Papish v. Bd. of Curators of

Univ. of Missouri, 410 U.S. 667, 670 (1973) (holding that a graduate student could

not be expelled for publishing an obscene cartoon).

      The district court did not err in determining that there was likely a

substantial amount of protected speech that would be potentially chilled by the

Flyer Policy. What is “inappropriate” or “offensive” is a subjective determination,

which would vary based on a college administrator’s personal beliefs. Political

speech, for example, has a high propensity to be viewed as “offensive,” and the

First Amendment “affords the broadest protection” to political expression.

McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 346 (1995).

       On appeal, Defendants contend that, because the interior bulletin boards are

a nonpublic forum and the school-sponsored speech doctrine applies, they have

absolute discretion to control the content of student flyers. However, to conduct an

overbreadth analysis, we are not required to first determine the speech’s forum.

See, e.g., Bd. of Airport Comm’rs of City of Los Angeles v. Jews for Jesus, Inc.,

482 U.S. 569, 573–74 (1987). Moreover, we require regulations on speech in


                                          4
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 5 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 5 of 7


nonpublic fora to be “reasonable and not an effort to suppress expression merely

because public officials oppose the speaker’s view.” Cornelius v. NAACP Legal

Def. & Educ. Fund, Inc., 473 U.S. 788, 800 (1985) (alteration omitted) (quoting

Perry Education Ass’n. v. Perry Loc. Educators’ Ass’n., 460 U.S. 37, 46 (1983)).

The district court did not abuse its discretion by assuming without deciding that the

bulletin boards were located on a nonpublic forum, and then concluding that the

challenged provision was likely unconstitutionally overbroad.

      The school-sponsored speech doctrine likewise not does not affect our

analysis. While we have applied the school-sponsored speech doctrine in the K-12

context, see Planned Parenthood of S. Nevada, Inc. v. Clark Cnty. Sch. Dist., 941

F.2d 817, 820 (9th Cir. 1991), we have declined to extend the doctrine to the

university context. See Oyama v. Univ. of Hawaii, 813 F.3d 850, 862 (9th Cir.

2015). As the district court recognized, some form of the school-sponsored speech

doctrine could apply to postings that may be “reasonably perceive[d] to bear the

imprimatur of the school” by members of the public. Hazelwood v. Kuhlmeier,

484 U.S. 260, 271 (1998). However, assuming without deciding that the school-

sponsored speech doctrine applies, the Flyer Policy was nevertheless required to be

“reasonably related to legitimate pedagogical concerns.” Id. at 273. While Clovis

may have been able to permissibly ban lewd and obscene flyers that included

nudity or profanity, see, e.g., Bethel School Dist. No. 403 v. Fraser, 478 U.S. 675,


                                          5
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 6 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 6 of 7


685 (1986), the district court did not abuse its discretion in determining that a ban

on “inappropriate and offense language or themes” is likely too broad to be

“reasonably related to legitimate pedagogical concerns.”

     3.      Nor did the district court abuse its discretion in concluding that the

Flyer Policy was likely unconstitutionally vague in violation of the Fourteenth

Amendment. “It is a basic principle of due process that an enactment is void for

vagueness if its prohibitions are not clearly defined.” Grayned v. City of Rockford,

408 U.S. 104, 108 (1972). The “inappropriate and offense” provision does not

“give the person of ordinary intelligence a reasonable opportunity to know what is

prohibited, so that he may act accordingly.” Id.; see also Cohen v. California, 403

U.S. 15, 19 (1971) (“No fair reading of the phrase ‘offensive conduct’ can be said

sufficiently to inform the ordinary person that . . . permissible speech or conduct

would nevertheless . . . not be tolerated in certain places.”). Moreover, the

provision invites “arbitrary and discriminatory enforcement,” id., by unilaterally

allowing Clovis staff to determine what flyers constitute “inappropriate or offense”

speech. Indeed, emails between the Clovis administrators demonstrate that they

did not understand what speech the Policy proscribed. And “when First

Amendment freedoms are at stake,” Clovis was required to enact a policy with “an

even greater degree of specificity and clarity.” Foti v. City of Menlo Park, 146

F.3d 629, 638 (9th Cir. 1998).


                                          6
       Case: 22-16762, 08/03/2023, ID: 12767202, DktEntry: 33-1, Page 7 of 7
      Case 1:22-cv-01003-JLT-HBK Document 55 Filed 08/03/23 Page 7 of 7


     4.      Because we affirm the district court’s overbreadth and vagueness

determinations, we decline to reach the Plaintiffs’ prior restraint and viewpoint

discrimination claims.

     AFFIRMED.




                                          7
